Case 2:04-cr-20103-.]TF Document 270 Filed 08/23/05 Page 1 of 3 Page|D 308

 

IN THE UNITED sTATEs DISTRICT coURT FHED BY._ ___ D.C.
FoR THE WESTERN DISTRICT oF TENNEssEE
wEsTERN DIvIsIoN 05 AUG 23 AH 5= 52
UNITED sTATEs oF AMERICA, cP.. No. 04-201 m
04_2 n;(`\..
Plaintiff, :@QY§ FKHOIHI
n' `\,"!" il f¢!“
vs-

SCOTT CRAWFORD,

vvvvvvvvw

Defendant.
CONSENT ORDER UNSEALING THE STATEMENT OF FACTS FILED WITH THE
PLEA AGREEMENTS IN UNITED STATES v. SCOTT CRAWFORDl
CR. NO. 04-ZQLOS-D AND CR. NQ. 04-20150-D

Upon the motion of the parties hereto, and with their express
consent and agreement, it is hereby ORDERED that the Statement of
Facts made a part of the plea agreements in United States v. Scott
Crawford, Cr. No. O4-20103-D and Cr. No. 04-20150, and ordered
sealed by the district court following the change of plea hearing,l
shall be unsealed on August 19, 2005, at the beginning of the
sentencing hearing in the cases referenced herein.

se oRDERED this [¢‘"’\day of August, 2005, at Memphis,

Tennessee.

         

Th Honora l Bernice B. Donal
U ited States District Judge
estern District of Tennessee

 

1The statement of Faets was docketed in United states v.
Scott Crawford, Cr. No. 04-20103-D, on March 14, 2005, as a
sealed document and assigned docket number 240.

This document entered on the docket sheet |n compliance
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APPROVED AND CONSENTED TO:

     

eph'C. Murphy, Jr.
A sistant United States A torney
Western District of Tennessee

%v\/(/(r\_

Tony L. xaRL Esq.
Attorne for Defendant Scott Crawford

 

o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 270 in
case 2:04-CR-20103 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

